397 U.S. 817
    90 S.Ct. 1483
    25 L.Ed.2d 804
    In the Matter of Dan A. SPENCER, Appellant.
    No. 513.
    Supreme Court of the United States
    Argued April 28, 1970.
    May 4, 1970
    Rehearing Denied June 15, 1970.
    
      See 398 U.S. 968, 90 S.Ct. 2164.
      Melvin L. Wulf, New York City, for appellant.
      Neil Dixon, Shreveport, La., for appellee.
      PER CURIAM.
    
    
      1
      The judgment is affirmed by an equally divided Court. 254 La. 294, 223 So.2d 672.
    
    